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SEALED FILED MCAT 5G

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

AUG 14 2023

ANGELA E. NOBLE
CLERK U.S. DIST. CT.

S. D. OF FLA. - FT. PIERCE

CASE NO. 23-80101-CR-CANNON/REINHART

)
UNITED STATES OF AMERICA, )
)

v. ) UNDER SEAL
)
: )
WALTINE NAUTA, )
)
Defendant. )
)

MOTION TO EXTEND TIME

Defendant Waltine Nauta, by and through the undersigned counsel, hereby respectfully

requests this Court issue an Order extending the time within which Mr. Nauta is to file his

response to the Court’s August 7 2023, Order to today, August 14, 2023, nunc pro tunc.

On August 7, 2023, the Court issued an Order under seal directing counsel for Mr. Nauta

to, “file under seal with the Court a complete and current account of the accuracy, substance, and

status of the reported allegations,” concerning, “news reports of allegations of potential

misconduct related to the investigation of this case.” Order at | (Aug. 7, 2023) (ECF No. 101).

Pursuant to Rule 45(b)(1)(B) of the Federal Rules of Criminal Procedure, “[w]hen an act

must or may be done within a specified period, the court on its own may extend the time, or for

good cause may do so on a party’s motion made . . . after the time expires if the party failed to

act because of excusable neglect.” Mr. Nauta contends that good cause exists to extend the time

within which his counsel is to file a response to the Court’s August 7 Order. On Thursday,

August 10, 2023, Mr. Nauta was rearraigned before Magistrate Judge Goodman in the Ft. Pierce

Division of the Southern District of Florida. Although on vacation, defense counsel travelled

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from Northern Michigan to Southern Florida for the proceedings — something he assured the
Court he was happy to do at the Court’s request. Defense counsel’s return travel on August 10
was significantly delayed, requiring counsel to travel from 4:30pm until 4:00am the next
morning.

In addition to the Court-ordered submission, Defendant also had to prepare another client
for an arraignment, United States v. Johnston, No. 23-cr-237 (D.D.C.) (which proceeding was
ultimately continued that morning), as well as an afternoon motions hearing. United States v.
Navarro, No. 22-cr-200 (D.D.C.). Thus, despite diligent efforts, defense counsel was unable to
file his Court-ordered response in person before the Clerk’s office closed for the day. See Local
Rule 5.4(c)(2) (“Conventionally file the proposed sealed filing in a plain envelope clearly
marked ‘sealed document’ with the case number and style of the case noted on the outside.’’);
Local Rule 5.1(a) (describing the nature and procedure of “conventional” filings).

Defense counsel understands the Court’s admonition that counsel’s schedule does not
alone provide sufficient grounds to delay proceedings. This is the first request for an extension
of time based upon the same and such request will not impact the general timeline or posture of
the instant matter. Accordingly, given defense counsel’s delayed travel on August 10, 2023,
good cause exists to extend the time within which defense counsel must file a response to the
Court’s August 7 Order. Additionally, because the Order was entered Under Seal, necessitating
that the instant motion be filed Under Seal, which necessarily could not have been filed at the
time defense counsel was unable to file such response, excusable neglect exists to warrant this
Court’s extending the time within which defense counsel is to respond to the Court’s August 7

Order after the deadline has passed. See Fed. R. Cr. P. 45(b)(1)(B).
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For the foregoing reasons, defense counsel respectfully requests this Court issue an Order
extending the time within which defense counsel may file a response to the Court’s August 7
Order to today, August 14, 2023, nunc pro tunc.

[SIGNATURE ON NEXT PAGE]

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Dated: August 14, 2023 Respectfully submitted,

/s/ Stanley E. Woodward, Jr:

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Certificate of Conferral

Pursuant to Local Rule 88.9 of the Local Rules for the United States District Court of the
Southern District of Florida, defense counsel has conferred with counsel for the government

whom advise that they take no position with respect to the relief sought in the instant motion.

Respectfully submitted,

/s/ Sasha Dadan
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Certificate of Electronic Service

I hereby certify that on August 14, 2023, I electronically submitted the foregoing, via
electronic mail, to counsel of record.
Respectfully submitted,

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